                    IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
_________________________________________
                                          )
UNITED STATES OF AMERICA                  ) CRIMINAL NO. 3:10-cr-238-RJC-DSC
                                          )
             v.                           )
                                          )
(9) MILTON EARL ADAMS                     )
      also known as “Turtle”              )
_________________________________________ )

  ORDER REVOKING BOND, ORDERING DETENTION, AND FORFEITING BOND

       This matter having come before the Court upon Motion by Anne M. Tompkins, United

States Attorney for the Western District of North Carolina, for an order revoking bond of Defendant

Milton Earl Adams, ordering the Defendant be detained, and forfeiting said bond,

       THE COURT FINDS that the Defendant has violated the conditions of release set by the

Court, and thus,

       The Government’s Motion is hereby GRANTED, and

       IT IS HEREBY ORDERED that the Defendant’s bond is revoked,

       IT IS FURTHER ORDERED that the Defendant be detained, and

       IT IS FURTHER ORDERED that the Defendant’s bond be forfeited.

       SO ORDERED.

                                                Signed: May 7, 2012




       Case 3:10-cr-00238-RJC          Document 446        Filed 05/07/12     Page 1 of 1
